Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 1 of 22




                 Exhibit 15
       Declaration of Kevin Hamm
             (Jul. 17, 2023)
     Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 2 of 22



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Attorneys for Plaintiffs

  UNITED STATES DISTRICT COURT, DISTRICT OF MONTANA
                    BUTTE DIVISION

THE IMPERIAL SOVEREIGN COURT
OF THE STATE OF MONTANA; ADRIA
JAWORT; RACHEL CORCORAN;
MONTANA BOOK COMPANY; IMAGINE
BREWING COMPANY, LLC d/b/a                         Cause No. CV 22-50-BU-
IMAGINE NATION BREWING                                     BMM
COMPANY; BUMBLEBEE AERIAL
FITNESS; MONTANA PRIDE; THE
WESTERN MONTANA COMMUNITY                        Declaration of Kevin Hamm
CENTER; THE GREAT FALLS LGBTQ+
CENTER; THE ROXY THEATER; and
THE MYRNA LOY,

                           Plaintiffs,
             vs.

 AUSTIN KNUDSEN; ELSIE ARNTZEN;
 J.P. GALLAGHER; and THE CITY OF
 HELENA,

                           Defendants.
     Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 3 of 22



I, Kevin Hamm, declare as follows:

1.   I am over the age of eighteen years, am competent to testify as to

     the matters set forth herein, and I make this declaration based

     upon my personal knowledge and belief.

2.   I am a resident of East Helena, Montana.

3.   I am the founder and president of the board of directors of the

     Happiness & Joy Foundation, a domestic nonprofit corporation

     created in 2014 and headquartered in Helena, Montana.

4.   The Happiness & Joy Foundation organizes Montana Pride,

     Montana’s annual statewide Pride celebration. I have been the

     chief organizer of Montana Pride since 2014.

5.   Montana Pride is commemorating 30 years of Pride celebrations

     in Montana this year.

6.   Montana Pride celebrates LGBTQ+ pride, acceptance, rights, and

     achievements. Montana Pride is intended to be a safe space for all

     individuals, especially those of the LGBTQ+ community.

7.   Montana Pride is an all-ages celebration, with events designed to

     be accessible for anyone who wishes to attend. Events are age-




Declaration of Kevin Hamm                                                 2
      Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 4 of 22



      appropriate, and hosts are deliberate in ensuring the safety of all

      individuals participating or attending.

8.    Montana Pride showcases several forms of entertainment and

      community-centered events, including drag shows, a parade,

      artisan markets, local business booths, a rally, and educational

      events.

9.    Educational events that will be featured this year include an

      Intersex Q&A, a Death Doula event, and Queer Collaging.

10.   With more than 15,000 attendees from across the state and

      country, Montana Pride is the largest Pride event in Montana, a

      significant tourist attraction, and an economic boon for the Helena

      region.

11.   Montana Pride events are held at a variety of small businesses, in

      public parks, on public streets, and at other venues throughout

      Helena, over the course of several days.

12.   This year’s Montana Pride events are scheduled to begin on July

      30, 2023, and end on August 6, 2023.

13.   On June 30, 2023, I applied to the City of Helena for the permits

      necessary for several Montana Pride events to be held on city



Declaration of Kevin Hamm                                                   3
      Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 5 of 22



      property. I resubmitted these applications on July 13, 2023. A

      true and accurate copy of the applications are attached as Exhibits

      A and B to this declaration.

14.   On July 13, 2023, I met with the City Manager, City Attorney,

      and other staff of the City of Helena. I was informed that the City

      of Helena would not issue the requested permits while HB 359

      remained in effect and enforceable.

15.   The Last Chance Gulch event permits I applied for this year are

      functionally identical to the permits the City of Helena approved

      last year.

16.   HB 359 appears to prohibit even the partial exposure of prosthetic

      or natural breasts and buttocks on public property. People

      regularly expose these portions of the body in many public places,

      such as public swimming areas.

17.   Montana Pride participants regularly wear costumes to celebrate

      and, because Montana Pride is held in the summertime, many

      attendees regularly wear clothing that partially exposes breasts

      and buttocks.




Declaration of Kevin Hamm                                                 4
      Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 6 of 22



18.   As the chief organizer of the Montana Pride events, I am

      concerned personally about civil and criminal liability under HB

      359 and do not know how to limit such liability effectively. I

      cannot force thousands of attendees to comply with a state-

      sanctioned dress code.

I declare under penalty of perjury that the foregoing is true and correct.

DATED this ___________
                17th   day of July, 2023, in             Helena   , Montana.




                                         Kevin Hamm




Declaration of Kevin Hamm                                                  5
Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 7 of 22




                     Exhibit A
               Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 8 of 22




City of Helena
Special Events Permit Form
The City's online Special Events Permit Application does not have the ability to be saved. Once you start the
application, you must complete the form or your work will be lost. Before starting the application please be sure you
have:
       Proof of Insurance
       Traffic Control Plan (If your event will be closing a street)
       Emergency Evacuation Plan (If your event's attendees exceeds 250 people)
City code requires all special events, including block parties, acquire special event insurance. The Montana Municipal
Interlocal Authority (MMIA) has resources to help residents find insurance providers for their event. More information
can be found at the MMIA Special Events Coverage Page.

    Acknowledge
Event Coordinator: 225 N Cruse Avenue, Suite B, Helena, MT 59601
Phone: (406) 447-8422
Email: specialevents@helenamt.gov
                                                      Deadlines
                       Requirement                                  Time Before Event Begin Date (Days)
              Special Event Permit Application                                    30 Days
                       Alcohol Permit                                             30 Days
                 Traffic Control Requests                                         14 Days
 Event
 Event Information
Event Name                                                  Application Date
Montana Pride Banned Brunch                                 7/13/2023
Event Type                                                  Estimated Number of Attendees

                                                       1 of 7
               Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 9 of 22

Other                                                     400
 Drag Show and Street Brunch
A Noise Ordinance Permit is required for an event of this size. The Noise Ordinance Permit is appended to the
bottom of this form.
Due to the size of your event a member of the Helena Police Department will be in contact regarding event
security details.
Due to the size of your event an Emergency Evacuation Plan is required.


 Event Coordinator Information (Person in Charge of the Event)
Name                                               Email
Kevin Hamm                                         k@montanapride.org
Cell Phone                                                Work Phone
406-417-0070
Address                                                   Address 2
7 W 6th Ave, Ste 3D                                       Helena, MT 59601


 Date / Time Information
Does the Event Span Multiple Days?
  No                                              Yes
Event Date                            Start Time                              End Time
7/30/2023                             8:00 AM                                 4:00 PM
Event Start Date            Event End Date                Start Time                     End Time
                            8/5/2023                      8:00 AM                        2:00 AM

 Section 46
 Event Date                            Start Time                            End Time
 7/30/2023                             8:00 AM                               4:00 PM


                                                      2 of 7
              Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 10 of 22




 Other Event Information
Proof of Insurance                                                      Insurance requirements can be found in
 Insurance Placeholder for permit                                       the City Code §7-9-5
 app.pdf
 Will your event contain alcohol?                                       An alcohol permit is requried with this
                                          
                                         Yes
                                                     
                                                     No                 application (alcohol permit is included on
                                                                        this form).
Will your event take place on the                                       Barricades are required for parades on
walking mall?                                                         the walking mall.
                                         Yes         No
Will your event take place on a                                         Events taking place on a public park
public park?                                                          require a different application process.
                                         Yes         No                 Please contact Heather Kahler at (406)
                                                                        447-8463
Though not required, the City of
Helena encourages recycling when                    
possible. Will recycling be provided     Yes         No
at this event?


Event Security Information
Are you seeking police presence for                                              City of Helena Police Agreement
your event?                                               
                                         Yes              No


Location / Traffic Control Information
Traffic control plans should adhere to the following:
        20 ft. of unobstructed width must remain clear at all times for emergency traffic.
        All signage shall comply with the Manual on Uniform Traffic Control Devices (MUTCD) and any City, County, or
        State requirements.
        Traffic control plans should contain a vicinity map which denotes the entire area impacted by the event.
        Traffic control plans should include details for event wayfinding. Using these principiples will help create good
        wayfinding.

                                                          3 of 7
              Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 11 of 22
               Create an identity at each location.
               Use landmarks to provide orientation clues.
               Create well-structured paths.
               Create regions of differing visual character.
               Don't give the user too many navigational choices.
       Traffic control plans should show traffic flow by arrows indicating direction and any deviations.
       Traffic control plans should show event access, staging areas, and parking accommodations.
       Traffic control plans should show pedestrian access plans including disabled accessibility.
       Traffic control plans should show emergency access points.
       Traffic control plans should denote the roadways or pedestrian facilities to be closed and where they will be
       closed.
       Traffic control plans should denote where road closed barricades will be, and the location of advanced warning
       signs and any other required signs.
Will the event require street closures?
  Yes                                              No

Location of Event
Banned Brunch at Front Street
Street Requiring Closure
Front Street between 13th & 14th

 Interactive Map
Area Map                                  Traffic Control Plan                 Emergency Evacuation Plan
 x_____xpigIY1ZmA…                         x_____xpigIY1ZmA…                    x_____xpigIY1ZmA…
 0a2e-11ee-a27d-                           0a2e-11ee-a27d-                      0a2e-11ee-a27d-
 0a747911150b.pdf                          0a747911150b.pdf                     0a747911150b.pdf


   Alcohol Permit
  Alcohol Permit
 General Questions
      Are you a licensed establishment permitted to sell alcohol?
   Are you allowing consumption of alcohol as the "host"?


 What is your plan for clearly designating areas where alcohol consumption is permitted? Please detail all
 containment and signs you plan to use?

                                                          4 of 7
             Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 12 of 22

The street ends will have road signs blocking, with signage on the inside notifying people of the open container
space. The bars will be provided by downtown establishments using their catering licenses to sell into the area.
 General Guidelines
 When approved, this portion of the document will be your permit. Keep this document available to present if
 needed.
 Event Sponsors must ensure that participants are checked for legal age if served alcohol.
Insurance Requirements
The permit holder must indemnify, defend, and hold the City and its employees and agents harmless against
all claims, liability, loss, damage, or expense incurred by the City due to any injur to or death of any person
or any damage to property caused by or resulting from the activities for which the permit is granted. As
evidence of the applicant's ability to perform the conditions of the permit, prior to the permit being issued,
applicant must provide proof of applicant's liability insurance issued by a reliable company or companies for
personal injury and property damage, and which includes alcohol liability coverage, in an amount not less
than one million dollars ($1,000,000.00) per occurrence and two million dollars ($2,000,000.00) aggregate
per year for bodily injury, personal injury, and property damage, with the City named as an additional
insured. (Ord. 3252, §5-20-2019).
Acknowledgements
 I have read & understand Helena City Code Title 7, Chapter 14 and conditions regarding the consumption of
 alcohol on public right of way.
 I have read & understand Helena City Code §5-7-3 regarding the limitation of noise in City limits If noise is
 expected to exceed allowable limits, I understand a Noise Permit is required.
 I have read & understand Helena City Code §7-14 regarding Insurance and Indemnification requirements:
 The permit holder must indemnify, defend, and hold the City and its employees and agents harmless against
 all claims, liability, loss, damage, or expense incurred by the City due to any injury to or death of any person
 or any damage to property caused by or resulting from the activities for which the permit is granted. As
 evidence of the applicant's ability to perform the conditions of the permit, prior to the permit being issued,
 applicant must provide proof of applicant's liability insurance issued by a reliable company or companies for
 personal injury and property damage, and which includes alcohol liability coverage, in an amount not less
 than one million dollars ($1,000,000.00) per occurrence and two million dollars ($2,000,000.00) aggregate
 per year for bodily injury, personal injury, and property damage, with the City named as an additional
 insured.
I have received, read and agree to the alcohol requirements set forth by the City of Helena and applicable state
requirements.
 




                                                      5 of 7
                Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 13 of 22

    Noise Permit
    Noise Permit
    Noise permits are required for any project, special event, parade or party with noise that exceeds sound limits
    stated in the ordinance below. This includes parties on private or public property with or without amplified music
    that exceeds dB limits.
    District / Zones                       Limitations: 6:00AM - 11:00PM Limitations: 11:00PM - 6:00AM
    Residential                            55 dB (A)                     50 db (A)
    Commercial                             60 dB (A)                     55 dB (A)
    Industrial                             80 dB (A)                     75 dB (A)

 Does your event contain any of the following
     Horns, Signaling Devices
   Sound Amplifying Equipment
     Loud Speakers, Amplifiers for Commercial Purposes
     Yelling or Shouting
     Animals
     Exhausts
     Defect in Vehicle
     Loading, Unloading, Opening Containers
     Construction Projects or Repair of Buildings
     Fireworks & Explosives
  I have read & understand Helena City Code §5-7-2 and §5-7-3 regarding the limitation of noise in City limits. If
  noise is expected to exceed allowable limits, I understand a Noise Permit is required.
 Noise Ordinance Permit Signature
     




 System Use [Please Do Not Alter Anything In This Section]
Event Start Date Variable Field
7/30/2023


   Contact Information
                                                  Contact Information

                                                         6 of 7
                  Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 14 of 22

               Department                           Phone Number                            Contact Reason
             Police Department                      (406) 447-8479                        Event Security Detail
          Transportation Systems                    (406) 447-1566                  Traffic Control Plan & Area Map
              Fire Department                       (406) 447-8472                EMS Services, Fire Code Information
              Parking Division                      (406) 447-8420                 Parking Permits, Parking Logistics


  Acknowledgement
 I acknowledge that I have received, read, and agree to follow above City of Helena Special Event Policies when
 holding the requested event. My signature below indicates my knowledge of the rules contained in the City of Helena
 Special Event Guidelines and Policies, that I have authority to legally bind any organization I represent with regard to
 this application, and that I /my organization agree(s) to comply with said rules.
Application Signature
 



  Director Approval Step
Comments
Insurance to come.
Digitally Signed (email verified)
 Kammi McClain                              Jul 13, 2023
_bJlXYCGQEe686LI1wMKlvg




                                                        7 of 7
Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 15 of 22




                     Exhibit B
              Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 16 of 22




City of Helena
Special Events Permit Form
The City's online Special Events Permit Application does not have the ability to be saved. Once you start the
application, you must complete the form or your work will be lost. Before starting the application please be sure you
have:
       Proof of Insurance
       Traffic Control Plan (If your event will be closing a street)
       Emergency Evacuation Plan (If your event's attendees exceeds 250 people)
City code requires all special events, including block parties, acquire special event insurance. The Montana Municipal
Interlocal Authority (MMIA) has resources to help residents find insurance providers for their event. More information
can be found at the MMIA Special Events Coverage Page.

    Acknowledge
Event Coordinator: 225 N Cruse Avenue, Suite B, Helena, MT 59601
Phone: (406) 447-8422
Email: specialevents@helenamt.gov
                                                      Deadlines
                       Requirement                                  Time Before Event Begin Date (Days)
              Special Event Permit Application                                    30 Days
                       Alcohol Permit                                             30 Days
                 Traffic Control Requests                                         14 Days
 Event
 Event Information
Event Name                                                  Application Date
Montana Pride                                               7/13/2023
Event Type                                                  Estimated Number of Attendees

                                                       1 of 7
              Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 17 of 22

BlockParty                                                5000
A Noise Ordinance Permit is required for an event of this size. The Noise Ordinance Permit is appended to the
bottom of this form.
Due to the size of your event a member of the Helena Police Department will be in contact regarding event
security details.
Due to the size of your event an Emergency Evacuation Plan is required.


 Event Coordinator Information (Person in Charge of the Event)
Name                                               Email
Kevin Hamm                                         k@montanapride.org
Cell Phone                                                Work Phone
4064170070
Address                                                   Address 2
7 W 6th Ave, Ste 3d                                       Helena, MT 59601


 Date / Time Information
Does the Event Span Multiple Days?
  No                                              Yes
Event Date                            Start Time                              End Time

Event Start Date            Event End Date                Start Time                     End Time
7/30/2023                   8/5/2023                      8:00 AM                        11:59 PM

 Section 46
 Event Date                            Start Time                            End Time
 7/30/20203                            8:00 AM                               4:00 PM

 Section 46

                                                      2 of 7
              Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 18 of 22

 Event Date                              Start Time                             End Time
 8/5/2023                                8:00 AM                                2:00 AM


 Other Event Information
Proof of Insurance                                                      Insurance requirements can be found in
 event descriptions for permits signed                                  the City Code §7-9-5
 copy.pdf
Will your event contain alcohol?                                        An alcohol permit is requried with this
                                                                      application (alcohol permit is included on
                                         Yes          No                this form).
Will your event take place on the                                       Barricades are required for parades on
walking mall?                                                         the walking mall.
                                         Yes          No
Will your event take place on a                                         Events taking place on a public park
public park?                                                          require a different application process.
                                         Yes          No                Please contact Heather Kahler at (406)
                                                                        447-8463
Though not required, the City of
Helena encourages recycling when                     
possible. Will recycling be provided     Yes          No
at this event?


Event Security Information
Are you seeking police presence for                                              City of Helena Police Agreement
your event?                                                                     event descriptions for
                                         Yes               No                     permits signed
                                                                                  copy.pdf

Location / Traffic Control Information
Traffic control plans should adhere to the following:
        20 ft. of unobstructed width must remain clear at all times for emergency traffic.

                                                           3 of 7
              Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 19 of 22
       All signage shall comply with the Manual on Uniform Traffic Control Devices (MUTCD) and any City, County, or
       State requirements.
       Traffic control plans should contain a vicinity map which denotes the entire area impacted by the event.
       Traffic control plans should include details for event wayfinding. Using these principiples will help create good
       wayfinding.
               Create an identity at each location.
               Use landmarks to provide orientation clues.
               Create well-structured paths.
               Create regions of differing visual character.
               Don't give the user too many navigational choices.
       Traffic control plans should show traffic flow by arrows indicating direction and any deviations.
       Traffic control plans should show event access, staging areas, and parking accommodations.
       Traffic control plans should show pedestrian access plans including disabled accessibility.
       Traffic control plans should show emergency access points.
       Traffic control plans should denote the roadways or pedestrian facilities to be closed and where they will be
       closed.
       Traffic control plans should denote where road closed barricades will be, and the location of advanced warning
       signs and any other required signs.
Will the event require street closures?
  Yes                                               No

Location of Event
Last Chance Gulch
Street Requiring Closure
Last Chance Gulch & 6th Ave

 Interactive Map
Area Map                                  Traffic Control Plan                  Emergency Evacuation Plan
 event descriptions for                    event descriptions for                event descriptions for
 permits signed                            permits signed                        permits signed
 copy.pdf                                  copy.pdf                              copy.pdf


   Alcohol Permit
  Alcohol Permit
 General Questions
      Are you a licensed establishment permitted to sell alcohol?
                                                           4 of 7
             Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 20 of 22

 
      Are you allowing consumption of alcohol as the "host"?
What is your plan for clearly designating areas where alcohol consumption is permitted? Please detail all
containment and signs you plan to use?
for the drag brunch it's the street signs, for the weekend of the parade, we're asking for the downtown to be
declared for the weekend per our pdf.
 General Guidelines
 When approved, this portion of the document will be your permit. Keep this document available to present if
 needed.
 Event Sponsors must ensure that participants are checked for legal age if served alcohol.
Insurance Requirements
The permit holder must indemnify, defend, and hold the City and its employees and agents harmless against
all claims, liability, loss, damage, or expense incurred by the City due to any injur to or death of any person
or any damage to property caused by or resulting from the activities for which the permit is granted. As
evidence of the applicant's ability to perform the conditions of the permit, prior to the permit being issued,
applicant must provide proof of applicant's liability insurance issued by a reliable company or companies for
personal injury and property damage, and which includes alcohol liability coverage, in an amount not less
than one million dollars ($1,000,000.00) per occurrence and two million dollars ($2,000,000.00) aggregate
per year for bodily injury, personal injury, and property damage, with the City named as an additional
insured. (Ord. 3252, §5-20-2019).
Acknowledgements
 I have read & understand Helena City Code Title 7, Chapter 14 and conditions regarding the consumption of
 alcohol on public right of way.
 I have read & understand Helena City Code §5-7-3 regarding the limitation of noise in City limits If noise is
 expected to exceed allowable limits, I understand a Noise Permit is required.
 I have read & understand Helena City Code §7-14 regarding Insurance and Indemnification requirements:
 The permit holder must indemnify, defend, and hold the City and its employees and agents harmless against
 all claims, liability, loss, damage, or expense incurred by the City due to any injury to or death of any person
 or any damage to property caused by or resulting from the activities for which the permit is granted. As
 evidence of the applicant's ability to perform the conditions of the permit, prior to the permit being issued,
 applicant must provide proof of applicant's liability insurance issued by a reliable company or companies for
 personal injury and property damage, and which includes alcohol liability coverage, in an amount not less
 than one million dollars ($1,000,000.00) per occurrence and two million dollars ($2,000,000.00) aggregate
 per year for bodily injury, personal injury, and property damage, with the City named as an additional
 insured.
I have received, read and agree to the alcohol requirements set forth by the City of Helena and applicable state
requirements.

                                                      5 of 7
                Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 21 of 22

     




    Noise Permit
    Noise Permit
    Noise permits are required for any project, special event, parade or party with noise that exceeds sound limits
    stated in the ordinance below. This includes parties on private or public property with or without amplified music
    that exceeds dB limits.
    District / Zones                       Limitations: 6:00AM - 11:00PM Limitations: 11:00PM - 6:00AM
    Residential                            55 dB (A)                     50 db (A)
    Commercial                             60 dB (A)                     55 dB (A)
    Industrial                             80 dB (A)                     75 dB (A)

 Does your event contain any of the following
     Horns, Signaling Devices
   Sound Amplifying Equipment
     Loud Speakers, Amplifiers for Commercial Purposes
     Yelling or Shouting
     Animals
     Exhausts
     Defect in Vehicle
     Loading, Unloading, Opening Containers
     Construction Projects or Repair of Buildings
     Fireworks & Explosives
  I have read & understand Helena City Code §5-7-2 and §5-7-3 regarding the limitation of noise in City limits. If
  noise is expected to exceed allowable limits, I understand a Noise Permit is required.
 Noise Ordinance Permit Signature
     




 System Use [Please Do Not Alter Anything In This Section]
Event Start Date Variable Field
7/30/2023



                                                         6 of 7
                 Case 2:23-cv-00050-BMM Document 55-15 Filed 11/28/23 Page 22 of 22

   Contact Information
                                                Contact Information
               Department                         Phone Number                              Contact Reason
             Police Department                     (406) 447-8479                         Event Security Detail
          Transportation Systems                   (406) 447-1566                   Traffic Control Plan & Area Map
              Fire Department                      (406) 447-8472                 EMS Services, Fire Code Information
              Parking Division                     (406) 447-8420                  Parking Permits, Parking Logistics


  Acknowledgement
 I acknowledge that I have received, read, and agree to follow above City of Helena Special Event Policies when
 holding the requested event. My signature below indicates my knowledge of the rules contained in the City of Helena
 Special Event Guidelines and Policies, that I have authority to legally bind any organization I represent with regard to
 this application, and that I /my organization agree(s) to comply with said rules.
Application Signature
 



  Director Approval Step
Comments
Insurance to come.
Digitally Signed (email verified)
 Kammi McClain                              Jul 13, 2023
_VZ4CkCGQEe686LI1wMKlvg




                                                        7 of 7
